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 6                                      UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                                        ***

 9   UNITED STATES OF AMERICA,                            )
                                                          )
10                         Plaintiff,                     )     3:12-CR-00121-LRH-WGC
                                                          )
11   v.                                                   )
                                                          )     ORDER
12   BRET OGILVIE,                                        )
     LINWOOD TRACY, JR.,                                  )
13                                                        )
                           Defendants.                    )
14                                                        )

15             Before the Court is Defendant Linwood Tracy, Jr.’s (“Tracy’s”) Motion to Enter into the

16   Court a Medical Record (Doc. #2331), Motion to Enter into the Court Document (1) and Document

17   (2) (Doc. #240), Motion to Enter Document (1) and Document (2) Regarding Hon. Valerie Cooke,

18   U.S. Magistrate (Doc. #246), Motion to Enter Document (1) and Document (2) Regarding U.S.D.C.

19   Judge Miranda Du (Doc. #247), Motion that Internal Revenue Service Agents Did Summons

20   Church Records (Doc. #266), and Motion to Mail Defendant/Petitioner Eight Subpoenas (Doc.

21   #267).2

22   ///

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               1
24                 Refers to the Court’s docket number.
               2
25           The United States did not file a Response to any of the aforementioned Motions pursuant to
     the Court’s September 5, 2013 Order relieving it from responding to further motions filed by
26   Defendants unless a response is requested by the Court. See Doc. #226.
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 1           After considering the above submissions, the Court finds that all of Tracy’s Motions shall

 2   be denied. First, they were filed in violation of the Court’s September 5, 2013 Order stating that no

 3   further motions by Defendants shall be considered unless the moving Defendant has shown and the

 4   Court has found good cause excusing their untimeliness. See Doc. #226. Because the Court did

 5   not grant Tracy leave to file any further motions with the Court, they are untimely. Second, even if

 6   the Court were to consider Tracy’s Motions, the Court finds that they violate Federal Rule of

 7   Criminal Procedure 47 (b), which requires that a motion “state the grounds on which it is based and

 8   the relief or order sought[,]” and Local Criminal Rule 47-9, which states that “[t]he failure of a

 9   moving party to file points and authorities in support of the motion shall constitute a consent to the

10   denial of the motion.” The Motions are largely unintelligible rendering it nearly impossible for the

11   Court to ascertain the relief Tracy is seeking. Moreover, to the extent the Court has identified the

12   relief requested, Tracy provides no support in the form of points and authorities for his requests.

13   For all of the aforementioned reasons, the Court denies Tracy’s remaining Motions.

14

15          IT IS THEREFORE ORDERED that Tracy’s Motions (Docs. #233, #240, #246, #247,

16   #266, #267) are DENIED.

17          IT IS SO ORDERED.

18          DATED this 9th day of January, 2014.

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                                                               __________________________________
20                                                             LARRY R. HICKS
                                                               UNITED STATES DISTRICT JUDGE
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